Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                    Desc: Main
                          Document Page 1 of 37



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF PUERTO RICO
 In re:

 World-Wide Investment                                           Case No. 2:19-bk-04897-BKT7
 Services Limited (BVI),                                         Chapter 7 Case

                   Debtor.
 _________________________________/

                        PETITIONING CREDITORS’ URGENT
                    MOTION TO CONVERT CHAPTER 7 CASE TO A
                CASE UNDER CHAPTER 15 OF THE BANKRUPTCY CODE

          The Petitioning Creditors, Synapse Investment Limited (“Synapse”), Bioreplace

 Corporation (“Bioreplace”), Masayuki Yamakawa (“Yamakawa”), and Megumi Matsuzawa

 (“Matsuzawa”) (together, the “Petitioning Creditors”), hereby file their Motion to Convert

 Involuntary Chapter 7 Case to a Case Under Chapter 15 of the Bankruptcy Code (“Motion to

 Convert”), to obtain recognition of a foreign insolvency proceeding as a foreign main proceeding

 pursuant to § 1501 et seq., and in support thereof, state as follows:



                                           BACKGROUND

          1.     This case arises from the substantial debts owed to investors for amounts paid by

 those investors into New Century Properties Limited (BVI) (“NCPL”), World-Wide Investment

 Services Limited (BVI) (“WWIS”), and Heng Cheong Pacific Limited (BVI) (“HCPL”) (together,

 the “Related Debtors”).

          2.     The Petitioning Creditors made investments through each of the Related Debtors in

 what was represented as a “Guaranteed Foundation Fund” (“Fund”). The Related Debtors falsely

 promised the fund would have a guaranteed minimum annual yield and insurance provided by well-

 known, global financial firms. However, in reality, this fund was a Ponzi scheme and each of the




 SLK_TAM:#3104520v1                                 1
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                        Desc: Main
                          Document Page 2 of 37



 Related Debtors misappropriated the capital investors contributed to the Fund.

        3.      The Petitioning Creditors made their contributions to the Related Debtors. The

 Related Debtors then purchased, developed and held millions of dollars of real estate.

        4.      After the Fund’s investors experienced defaults on the obligations owed to them,

 some of the concerned investors investigated the various entities related to the Fund, including the

 Related Debtors. After gaining access to the Related Debtors’ accounts and hiring forensic

 accountants in the United States and Hong Kong, the investors realized that they were victims of a

 massive Ponzi scheme. This investigation indicated that none of their capital was ever deposited in

 an actual investment fund and revealed a serpentine web of entities—consisting of the Related

 Debtors—used to perpetrate the Ponzi scheme.

        5.      On August 3, 2019 a receiver was appointed for each of the Related Debtors in the

 British Virgin Islands (“BVI”) pursuant to Section 118 of the Insolvency Act, 2003 (“BVI

 Receiverships”). A copy of the documentation commencing and closing the receivership is attached

 hereto as Composite Exhibit A.

        6.      The Receiver was appointed over the Related Debtors to facilitate the assignment of

 several promissory notes in favor of PR Capital LLC, the only known secured creditor in this

 scheme. After receiving the assignment of the promissory notes from the Related Debtors to PR

 Capital LLC, such property was beneficially held for the benefit of the Petitioning Creditors.

        7.      On or about August 23, 2017 the Receiverships were concluded.

        8.      On August 26, 2019 (“Petition Date”), the Petitioning Creditors filed their

 Involuntary Petitions for relief under Title 11, Chapter 7 of the United States Code (“Bankruptcy

 Code”) against the Related Debtors (“Related Chapter 7 Cases”).




 SLK_TAM:#3104520v1                                2
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                     Desc: Main
                          Document Page 3 of 37



        9.       Service of the involuntary summonses and petitions in the Related Chapter 7 Cases

 was perfected on September 3, 2019, making the deadline for the Related Debtors to file their

 answer September 24, 2019.

        10.     On September 6, 2019, Petitioning Creditor Yamakawa applied to appoint joint

 liquidators for the Related Debtors with the same court where the BVI Receiverships were

 conducted, the Eastern Caribbean Supreme Court, High Court of Justice, Virgin Islands,

 Commercial Division (“BVI Court”).

        11.     The application for joint liquidation and accompanying order are attached hereto as

 Composite Exhibit B. A joint liquidator is expected to be appointed by October 22, 2019, at which

 time the Related Debtors will be parties to a foreign main proceeding for which the appointed

 liquidator will seek recognition in this Court pursuant to Chapter 15.

        12.     Once the joint liquidator is appointed, the Petitioning Creditors desire to have the

 liquidation of the Related Debtors in the BVI (“BVI Liquidation”) recognized as a foreign main

 proceeding in order to effectuate a harmonious cross-border liquidation of the Related Debtors’

 assets consistent with Chapter 15 of the Bankruptcy Code.

        13.     Once commenced, the BVI Liquidation will constitute a foreign main proceeding,

 for which the Petitioning Creditors, through the joint liquidator as the Related Debtor’s foreign

 representative, will seek recognition by this Court.

        14.     With commencement of the BVI Liquidation now pending, the Petitioning Creditors

 respectfully request this Court convert the Related Debtors’ Chapter 7 cases to cases under Chapter

 15 to allow for recognition of the liquidation as a foreign main proceeding.




 SLK_TAM:#3104520v1                                 3
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                         Desc: Main
                          Document Page 4 of 37



                                       RELIEF REQUESTED

        15.     The Petitioning Creditors request entry of an order converting this case to one under

 Chapter 15 to obtain recognition of the BVI Liquidation as a foreign main proceeding.

        16.     And because obtaining an order for relief in the Related Debtors’ present Chapter 7

 case would be a duplication of the relief available, upon recognition of the BVI Liquidation as a

 foreign main proceeding, the Petitioning Creditors request an expedited preliminary hearing on this

 motion prior to an order for relief being entered in the cases of the Related Debtors.

        17.     Although an express statutory mechanism for conversion from a case under Chapter

 7 to one under Chapter 15 is not expressly provided for by the Bankruptcy Code, similarly, the relief

 sought by this Motion is not prohibited by any provision of the Bankruptcy Code and will allow for

 an equitable, efficient distribution of the Related Debtor’s assets within the United States. In short,

 there is no purpose to be served with dueling insolvency estates in both the United States and the

 British Virgin Islands.

        18.     The Related Debtors qualify as a debtor both under Chapter 7 and Chapter 15 and

 thus meet the statutory prerequisite for conversion set forth in § 706(d), which provides that “a case

 may not be converted to a case under another chapter of this title unless the debtor may be a debtor

 under such chapter.” 11 U.S.C. § 706(d). The BVI Liquidation brings the Related Debtors within

 the realm of a “debtor” under Chapter 15, which is “an entity that is the subject of a foreign

 proceeding.” 11 U.S.C. § 1502(1).

        19.     Here, conversion to a Chapter 15 would neither prejudice nor inhibit the rights of

 any creditors. Conversion to a case under Chapter 15 would further the interests of all creditors and

 allow the appointed foreign representative to efficiently administer the Related Debtors’ assets

 located within the United States through the continuing proceedings initially commenced in the BVI




 SLK_TAM:#3104520v1                                 4
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                         Desc: Main
                          Document Page 5 of 37



 Court back in 2017.

        20.     Conversion of this case to one under Chapter 15 is appropriate because, upon

 commencement of the BVI Liquidation, all statutory prerequisites for petitioning for recognition of

 a foreign proceeding will be met. Further, conversion to Chapter 15 will also ensure fair and

 efficient administration of the Related Debtors’ insolvency cases and will provide for protection and

 maximization of the value of the Related Debtors’ assets both within the United States and abroad.

 See 11 U.S.C. 1501(a) (setting forth the purpose and scope of Chapter 15).

        21.     Upon appointment of the liquidator, they will qualify as a “foreign representative” as

 that term is defined by the Bankruptcy Code. The joint liquidator will be appointed by the BVI

 Court to administer the liquidation of the Related Debtors’ assets, and is therefore a “person or body

 appointed on an interim basis, authorized in a foreign proceeding to administer the reorganization or

 the liquidation of the debtor’s assets or affairs or to act as a representative of such foreign

 proceeding.” 11 U.S.C. § 101(24).

        22.     Because the relief available to the Petitioning Creditors through the present Chapter

 7 cases would be a duplication of the relief available upon recognition under Chapter 15, the joint

 liquidator is likely to move for dismissal under § 305(d). Ultimately, maintaining the Related

 Debtors’ cases under a single chapter will promote an efficient administration of the Related

 Debtors’ assets in the United States and better serve the interests of the creditors and the Related

 Debtors internationally.

        23.     The BVI Liquidation qualifies for recognition because it is a “collective judicial . . .

 proceeding in a foreign country . . . under a law relating to insolvency or adjustment of debt in

 which proceeding the assets and affairs of the debtor are subject to control or supervision by a

 foreign court, for the purpose of reorganization or liquidation.” 11 U.S.C. § 101(23); see also In re




 SLK_TAM:#3104520v1                                5
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                          Desc: Main
                          Document Page 6 of 37



 British American Isle of Venice (BVI), Ltd., 441 B.R. 713, 723 (Bankr. S.D. Fla. 2010) (recognizing

 a BVI Liquidation as a collective proceeding).

        24.     The BVI Liquidation is collective in nature, as the phrase is used in 11 U.S.C. §

 101(23) because the BVI Insolvency Act, 2003 provides an orderly procedure for liquidation under

 which all creditors are treated equally. See 11 U.S.C. § 1501(a)(3) (stating the objective of “fair and

 efficient administration of cross-border insolvencies that protects the interests of all creditors, and

 other interested entities, including the debtor”); see also In re ABC Learning Centers Ltd., 445 B.R.

 318, 328 (Bankr. D. Del. 2010) (stating that the collective proceeding requirement reflects U.S.

 policy to provide an orderly liquidation procedure under which all creditors are treated equally”

 (quotation and citation omitted)).

        25.     The BVI Liquidation qualifies as a “foreign main proceeding” because it is a

 “foreign proceeding pending in the country where the [Related Debtors have] the center of [their]

 main interests. 11 U.S.C. § 1502(4).

        26.     The Related Debtors’ respective centers of main interests (“COMI”) are in the

 British Virgin Islands because: the Related Debtors are incorporated under BVI law; they have

 consistently maintained registered offices within the BVI since their inception; and the BVI is the

 only location that a third party would readily ascertain the Related Debtors’ conducted business. See

 11 U.S.C. § 1516(c) (Absent “evidence to the contrary, the debtor’s registered office . . . is

 presumed to be the center of the debtor’s main interests.”); see also Morning Mist Holdings Ltd. v.

 Krys (In re Fairfield Sentry Ltd.), 714 F.3d 127, 130 (2d Cir. 2013) (stating that the debtor’s COMI

 lies where a debtor conducts its regular business so it is “readily ascertainable by third parties”); In

 re Ascot Fund Ltd., 603 B.R. 271, 283 (Bankr. S.D.N.Y. 2019) (finding the debtor’s COMI to be

 where it maintained its registered address in the Cayman Islands, despite objections based on the




 SLK_TAM:#3104520v1                                 6
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                         Desc: Main
                          Document Page 7 of 37



 entirety of the debtor’s liquid assets being in the United States); In re SPhinX, Ltd., 351 B.R. 103,

 119 (Bankr. S.D.N.Y. 2006) (refusing to grant recognition on other grounds but stating that it would

 otherwise recognize the Cayman Islands proceeding as the foreign main proceeding despite minimal

 business activities, no employees, and no offices in the Cayman Islands).

        27.     Accordingly, because conversion to a case under Chapter 15 will promote an

 efficient cross-border recovery and distribution of the Related Debtor’s assets through one channel;

 conversion will not prejudice creditors or any other parties in interest; and the requirements to

 recognize a foreign proceeding are met upon commencement of the BVI Liquidation, the

 Petitioning Creditors respectfully request that this Court convert this case to one under Chapter 15.


                                           CONCLUSION

        WHEREFORE, the Petitioning Creditors respectfully request this Court conduct a

 preliminary hearing on or before September 24, 2019 where the Petitioning Creditors and the joint

 liquidator may seek recognition of the BVI Liquidation as a foreign main proceeding and, if no

 valid objections exist and this Court deems appropriate, enter an order converting this case to one

 under Chapter 15 of the Bankruptcy Code.




 SLK_TAM:#3104520v1                                 7
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                       Desc: Main
                          Document Page 8 of 37



                   CERTIFICATION OF NEED FOR EXPEDITED HEARING

           Pursuant to Local Bankruptcy Rule 9013-1, I hereby certify that there is a need for an

 expedited hearing on this matter. I have carefully examined the matter and conclude that there is a

 true need for an urgent hearing on the Motion to Convert. The deadline for the Related Debtors’

 response to the involuntary petitions is September 24, 2019. If there is no response to the Related

 Debtors’ involuntary petitions, this Court may enter an order for relief and appoint a trustee. The

 Petitioning Creditors’ do not wish for there to be a Chapter 7 estate and trustee in addition to a

 foreign estate created under Chapter 15. Therefore, the Petitioning Creditors request that this Court

 conduct a preliminary hearing on or before September 24, 2019 to avoid unnecessary duplicative

 relief.



 Dated: September 13, 2019             Respectfully submitted,

                                       SHUMAKER, LOOP & KENDRICK, LLP

                                       By: /s/ Steven M. Berman
                                              Steven M. Berman, Esq.
                                              U.S.D.C. P.R. Bar No. 305704
                                              sberman@shumaker.com
                                              101 E. Kennedy Blvd., Suite 2800
                                              Tampa, Florida 33602
                                              Phone (813) 229-7600
                                              Facsimile (813) 229-1660
                                              Attorney for Petitioning Creditors




 SLK_TAM:#3104520v1                                8
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                      Desc: Main
                          Document Page 9 of 37



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 13, 2019 a true and correct copy of the foregoing
 has been furnished via this Court’s CM/ECF system to all counsel of record and to all parties
 receiving notice via CM/ECF and by regular, first-class, postage pre-paid U.S. Mail to the following
 parties:

 United States Trustee                                New Century Properties Limited
 500 Tanca Street, Suite 301                          c/o Commence Overseas Limited
 San Juan, Puerto Rico 00901                          Commence Chambers
                                                      Road Town, Tortola
                                                      British Virgin Islands

                                                      and

                                                      New Century Properties Limited
                                                      c/o Commence Overseas Limited
                                                      Commence Chambers
                                                      P.O. Box 2208
                                                      British Virgin Islands

 World-Wide Investment Services Limited               Heng Cheong Pacific Limited
 c/o Commence Overseas Limited                        c/o Commence Overseas Limited
 Commence Chambers                                    Commence Chambers
 Road Town, Tortola                                   Road Town, Tortola
 British Virgin Islands                               British Virgin Islands

 and                                                  and

 World-Wide Investment Services Limited               Heng Cheong Pacific Limited
 c/o Commence Overseas Limited                        c/o Commence Overseas Limited
 Commence Chambers                                    Woodbourne Hall
 P.O. Box 2208                                        P.O. Box 3162, Road Town
 British Virgin Islands                               British Virgin Islands


                                               /s/ Steven M. Berman
                                                 Steven M. Berman, Esq.
                                                 U.S.D.C. P.R. Bar No. 305704
                                                 Attorney for Petitioning Creditors




 SLK_TAM:#3104520v1                               9
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 10 of 37




                     Composite Exhibit A
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 11 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 12 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 13 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 14 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 15 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 16 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 17 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 18 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 19 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 20 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 21 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 22 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 23 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 24 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 25 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 26 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 27 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 28 of 37
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29   Desc: Main
                          Document Page 29 of 37




                      Composite Exhibit B
    Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                                                  Desc: Main
Case Number :BVIHCOM2019/0132Document Page 30 of 37



                 The Insolvency Act 2003                                                                             Form R14A
                 The Insolvency Rules 2005

                                                                                                          Submitted Date:06/09/2019 15:44
                 Originating Application
                 (Company)                                                                                Filed Date:06/09/2019 15:44
                 Rule 14                                                                                  Fees Paid:811.84
                                  In the Eastern Caribbean Supreme Court
                                  In the High Court of Justice
                                  Virgin Islands
                                  Commercial Division


                                             Matter No.:            BVIHC (COM) 2019/


                                              Applicant:            Masayuki Yamakawa


                                                                    (1) World‐Wide Investment Services Limited
                                            Respondents:            (2) New Century Properties Limited
                                                                    (3) Heng Cheong Pacific Limited


                                  In the matter of:


 (a) Enter the full name of the     (a)   (1) World‐Wide Investment Services Limited
 company:
                                          (2) New Century Properties Limited
                                          (3) Heng Cheong Pacific Limited


                                                                                    For Court Use Only

                                    To: (b) World‐Wide Investment Services Limited, New Century Properties Limited and Heng Cheong
 (b) Insert name and address        Pacific Limited, each of C/‐ Commence Overseas Limited, Commence Chambers, Road Town,
 of the person application is       Tortola, British Virgin Islands
 directed to:
                                    This application will be heard by the Judge at the High Court, 2nd Floor, SAKAL Building,
                                    Wickham’s Cay, Road Town, Tortola, British Virgin Islands

                                    on the                 day of                    2019 at             a.m./p.m.

                                    with a hearing time estimate of 30 minutes.

                                    If you do not attend at the time shown the Court may make an order in your absence.


 (c)Enter full name of            We: (c) Forbes Hare, legal practitioners for Masayuki Yamakawa,
 applicant or name of
                                    intend to apply for an order under section 159 of the Insolvency Act 2003 that joint liquidators be
                                  (d)
 applicant’s solicitor
                                  appointed to World‐Wide Investment Services Limited, New Century Properties Limited and Heng
                                  Cheong Pacific Limited.
 (d) Insert details of order
                                  A draft of the order sought is attached.
     Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                                                 Desc: Main
                               Document Page 31 of 37




(e) Delete as applicable        (e) The grounds upon which Masayuki Yamakawa (the “Applicant”) seeks the order are set out in an

                                affidavit attached. In summary, they are that:

                                      1.   World‐Wide Investment Services Limited, New Century Properties Limited and Heng Cheong
                                           Pacific Limited (the “Respondents”) are each insolvent, within the meaning of s.162(1)(a) of
                                           the Insolvency Act, 2003 (the “Act”), on each of the following bases:

                                           (a)     The value of each Respondent’s liabilities exceeds its assets, within the meaning of
                                                   s.8(1)(c)(i) of the Act. The Respondents’ liabilities include, without limitation, debts
                                                   of at least:

                                                   (i)      US$32,794.482.01 owing to the Applicant;

                                                   (ii)     US$1,339,734.58 owing to Synapse Investment Ltd.;

                                                   (iii)    US$850,330.65 owing to Bioreplace Corporation;

                                                   (iv)     US$287,371.97 owing to Megumi Matsuzawa;

                                                   (v)      US$18,164,674.18 owing to PR Capital LLC; and

                                                   (vi)     US$111,057,534.20 owing to the RBT Victim Recovery Trust;

                                                   The Respondents’ only known assets are their ownership or other equitable rights
                                                   in certain real property in Oregon and Utah, consequent upon investment funds
                                                   received by the Respondents having being used to purchase and improve those
                                                   properties. The value of those assets is far exceeded by each of the Respondents’
                                                   liabilities.

                                           (b)     The Respondents are each unable to pay their debts as they fall due, within the
                                                   meaning of s.8(1)(c)(i) of the Act. The Respondents have failed to pay any part of
                                                   the debts mentioned above, either as they fell due or at all, over a period of many
                                                   years.

(f) Enter full names and          The names and addresses of the persons on whom it is intended to serve the application are
                                (f)
addresses as applicable         World‐Wide Investment Services Limited, New Century Properties Limited and Heng Cheong Pacific
                                Limited, each of C/‐ Commence Overseas Limited, Commence Chambers, Road Town, Tortola, British
                                Virgin Islands.
(g) Enter full names and
addresses as applicable         (g) The names and addresses of the persons required to be given notice of this application pursuant to

                                the Act and the Rules (if any) are World‐Wide Investment Services Limited, New Century Properties
                                Limited and Heng Cheong Pacific Limited, each of C/‐ Commence Overseas Limited, Commence
                                Chambers, Road Town, Tortola, British Virgin Islands.

(h) Enter full name
                                This application is filed by (h) Forbes Hare, legal practitioners for (i) Masayuki Yamakawa, whose
(i)Delete as applicable
(j) Enter address for service   address for service is (j) Qwomar Building, Road Town, Tortola, British Virgin Islands.


                                Signed:                                        Dated: 6 August 2019

                                Please print name: Richard Baird



                                                                        2
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                       Desc: Main
                          Document Page 32 of 37




                                  IN THE EASTERN CARIBBEAN SUPREME COURT
                                  IN THE HIGH COURT OF JUSTICE
                                  VIRGIN ISLANDS
                                  COMMERCIAL DIVISION

                                  CLAIM NO. BVIHC (COM) 2019/

                                  IN THE MATTER OF THE INSOLVENCY ACT, 2003
                                  AND IN THE MATTER OF WORLD‐WIDE INVESTMENT SERVICES LIMITED
                                  AND IN THE MATTER OF NEW CENTURY PROPERTIES LIMITED
                                  AND IN THE MATTER OF HENG CHEONG PACIFIC LIMITED

                                  BETWEEN:
                                                        MASAYUKI YAMAKAWA
                                                                                            Applicant
                                                                 ‐and‐

                                             (1) WORLD‐WIDE INVESTMENT SERVICES LIMITED
                                                  (2) NEW CENTURY PROPERTIES LIMITED
                                                    (3) HENG CHEONG PACIFIC LIMITED
                                                                                      Respondents

                                  ––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––

                                                      ORIGINATING APPLICATION

                                  ––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––




                                                          Qwomar Building
                                                             P.O. Box 4649
                                                      Road Town, Tortola VG1110
                                                         British Virgin Islands
                                                         Tel: +1 284 494 1890

                                                  Legal Practitioners for the Applicant
                                                         Contact: Richard Baird




                                        3
 Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                             Desc: Main
                           Document Page 33 of 37




IN THE EASTERN CARIBBEAN SUPREME COURT
IN THE HIGH COURT OF JUSTICE
VIRGIN ISLANDS
COMMERCIAL DIVISION

CLAIM NO. BVIHC (COM) 2019/

IN THE MATTER OF THE INSOLVENCY ACT, 2003
AND IN THE MATTER OF WORLD‐WIDE INVESTMENT SERVICES LIMITED
AND IN THE MATTER OF NEW CENTURY PROPERTIES LIMITED
AND IN THE MATTER OF HENG CHEONG PACIFIC LIMITED

BETWEEN:
                                             MASAYUKI YAMAKAWA
                                                                                                    Applicant
                                                        ‐and‐

                                (1) WORLD‐WIDE INVESTMENT SERVICES LIMITED
                                     (2) NEW CENTURY PROPERTIES LIMITED
                                       (3) HENG CHEONG PACIFIC LIMITED
                                                                                                  Respondents

–––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––

                                                   DRAFT ORDER

–––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––

Before:
Dated:
Entered:

UPON an application for the appointment of joint liquidators to the Respondents pursuant to s.159 of the
Insolvency Act, 2003 (the “Act”);

AND UPON reading the Originating Application filed [ ] September 2019, the Affidavit of Masayuki Yamakawa
sworn [ ] September 2019 and Exhibit MY‐1 thereto, the Service Affidavit of [ ] sworn [ ] September 2019 and
Exhibit [ ] thereto and the Affidavit of [ ] sworn [ ] September 2019 and Exhibit [ ] thereto;

AND UPON the Court being satisfied that the application was properly served on each of the Respondents at
their registered office address in the British Virgin Islands on [ ] September 2019;




                                                          1
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                                    Desc: Main
                          Document Page 34 of 37




AND UPON the application having been advertised in the BVI Beacon on [ ] September 2019 and advertisements
having appeared in the Virgin Islands Gazette on [ ] September 2019;

AND UPON hearing [ ] on behalf of the Applicant;

IT IS HEREBY ORDERED THAT:

   1. The Respondents be put into liquidation under the provisions of the Act.

   2. [ ] and [ ] be appointed as joint liquidators to each of the Respondents (the “Liquidators”).

   3. The Liquidators shall not be required to give security for their appointment.

   4. The Liquidators be given the following powers set out at Schedule 2 of the Act, exercisable with the
       sanction of the Court:

           a. Power to pay any class of creditors in full;

           b. Power to make a compromise or arrangement with creditors or persons claiming to be creditors,
               or having alleged or alleging that they have any claim against any of the Respondents, whether
               present or future, certain or contingent, ascertained or not;

           c. Power to compromise, on such terms as may be agreed:

                    i. calls and liabilities to calls, debts and liabilities capable of resulting in debts, and claims,
                       whether present or future, certain or contingent, ascertained or not, subsisting or
                       supposed to subsist between any of the Respondents and any person; and

                    ii. questions in any way relating to or affecting the assets or the liquidations of any of the
                       Respondents;

           d. Power to commence, continue, discontinue or defend any action or other legal proceedings in
               the names and on behalf of any of the Respondents; and

           e. Power to carry on the businesses of any of the Respondents as may be necessary for their
               beneficial liquidation.




                                                         2
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                              Desc: Main
                          Document Page 35 of 37




  5. The Liquidators be given the following powers set out at Schedule 2 of the Act, exercisable without the
     sanction of the Court:

         a. Power to sell or otherwise dispose of property of any of the Respondents;

         b. Power to do all acts and execute, in the name and on behalf of any of the Respondents, any
              deeds, receipts or other documents;

         c. Power to use any of the Respondents’ seals;

         d. Power to prove, rank and claim in the bankruptcy, liquidation, insolvency or sequestration of
              any member or past member for any balances against any of the Respondents’ estates and to
              receive dividends, in the bankruptcy, liquidation, insolvency, sequestration or in respect of that
              balance as a separate debt due from the bankrupt or insolvent, and rateably with the other
              separate creditors;

         e. Power to draw, accept, make and endorse any bill of exchange or promissory note in the name
              and on behalf of any of the Respondents with the same effect with respect to any of the
              Respondents’ liability as if the bill or note had been drawn, accepted, made or indorsed by or on
              behalf of any of the Respondents in the course of their businesses;

         f.   Power to borrow money, whether on the security of the assets of any of the Respondents or
              otherwise;

         g. Power to take out in their official names letters of administration to any deceased member or
              past member or debtor and to do any other act necessary for obtaining payment of any money
              due from a member or past member or debtor, or his estate, that cannot conveniently be done
              in the name of any of the Respondents;

         h. Power to call meetings of creditors or members for:

                  i. the purpose of informing creditors or members concerning the progress of or matters
                      arising in the liquidation;

                  ii. the purpose of ascertaining the views of creditors or members on any matter arising in
                      the liquidation; and


                                                       3
Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                             Desc: Main
                          Document Page 36 of 37




                 iii. such other purpose connected with the liquidation as the Liquidators consider fit;

         i.   Power to appoint a solicitor, accountant or other professionally qualified person to assist them
              in the performance of their duties;

         j.   Power to appoint an agent to do any business that the Liquidators are unable to do themselves,
              or which can be more conveniently done by an agent; and

         k. Power to take possession, protect and realise the assets of any of the Respondents and to sell or
              otherwise dispose of their assets.

  6. The Respondents shall pay the costs of the Applicant and the Liquidators, to be paid out of the
     Respondents’ assets with the priority prescribed by r.199 of the Insolvency Rules, 2005.

  7. The Liquidators may apply for their remuneration, costs and expenses to be fixed by the Court.

  8. There be permission to apply.

                                         BY ORDER OF THE COURT




                                       _________________________
                                            DEPUTY REGISTRAR




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Case:19-04897-BKT7 Doc#:13 Filed:09/13/19 Entered:09/13/19 16:20:29                         Desc: Main
                          Document Page 37 of 37




                                    IN THE EASTERN CARIBBEAN SUPREME COURT
                                    IN THE HIGH COURT OF JUSTICE
                                    VIRGIN ISLANDS
                                    COMMERCIAL DIVISION

                                    CLAIM NO. BVIHC (COM) 2019/

                                    IN THE MATTER OF THE INSOLVENCY ACT, 2003
                                    AND IN THE MATTER OF WORLD‐WIDE INVESTMENT SERVICES LIMITED
                                    AND IN THE MATTER OF NEW CENTURY PROPERTIES LIMITED
                                    AND IN THE MATTER OF HENG CHEONG PACIFIC LIMITED

                                    BETWEEN:
                                                          MASAYUKI YAMAKAWA
                                                                                                Applicant
                                                                   ‐and‐

                                               (1) WORLD‐WIDE INVESTMENT SERVICES LIMITED
                                                    (2) NEW CENTURY PROPERTIES LIMITED
                                                      (3) HENG CHEONG PACIFIC LIMITED
                                                                                        Respondents

                                    ––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––

                                                               DRAFT ORDER

                                    ––––––––––––––––––––––––––––––––––––––––––––––––––––––––––––




                                                            Qwomar Building
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                                                    Legal Practitioners for the Applicant
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